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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. CR20-0092-JCC
10                             Plaintiff,                   ORDER
11          v.

12   RUTH MELISA GOMEZ-MARENTES,

13                             Defendant.
14

15          This matter comes before the Court on Defendant’s unopposed motion to modify the
16   conditions of her pretrial release (Dkt. No. 225). Having thoroughly considered the motion and
17   the relevant record, the Court hereby GRANTS the motion and MODIFIES the condition that
18   Defendant have no direct or indirect contact with any existing and/or future co-defendants, as
19   follows: “Defendant may contact Luis Castillo-Barragan with regards to custody of their children
20   through a third party, as approved by Pretrial Services.” All other conditions remain unchanged.
21          DATED this 11th day of September 2020.




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                                                         John C. Coughenour
25                                                       UNITED STATES DISTRICT JUDGE
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     ORDER
     CR20-0092-JCC
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